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13

14                                     UNITED STATES DISTRICT COURT

15                                    NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN FRANCISCO DIVISION

17   Waymo LLC,                                       Case No. 3:17-cv-00939-WHA

18                       Plaintiff,                   DECLARATION OF RACHEL M. WALSH
                                                      IN SUPPORT OF DEFENDANT OTTO
19           v.                                       TRUCKING’S MOTION TO ENFORCE
                                                      THE COURT’S JUNE 7, 2017 ORDER
20   Uber Technologies, Inc., et al.,                 (DKT. 563) AND TO JOIN AND ADOPT
                                                      CO-DEFENDANTS UBER
21                       Defendants.                  TECHNOLOGIES, INC. AND
                                                      OTTOMOTTO LLC’S MOTION TO
22                                                    ENFORCE THE COURT’S JUNE 7, 2017
                                                      ORDER (DKT. 563)
23
                                                      Date:         August 17, 2017
24                                                    Time:         8:00 a.m.
                                                      Courtroom:    8, 19th Floor
25                                                    Judge:        Honorable William Alsup
                                                      Trial Date:   October 10, 2017
26

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     ACTIVE/91816427.1
      DECLARATION ISO OTTO TRUCKING’S MOTION TO ENFORCE AND TO JOIN MOTION TO ENFORCE
                                   CASE NO. 3:17-CV-00939
      Case 3:17-cv-00939-WHA Document 843-4 Filed 07/07/17 Page 2 of 2



 1           I, Rachel M. Walsh, declare as follows:

 2           1.          I am counsel at the law firm of Goodwin Procter LLP, counsel of record for

 3   Defendant Otto Trucking LLC (“Otto Trucking”). I make this declaration based upon matters

 4   within my own personal knowledge and if called as a witness, I could and would competently

 5   testify to the matters set forth herein. I make this declaration in support of Defendant Otto

 6   Trucking’s Notice of Motion and Motion to Enforce the Court’s June 7, 2017 Order (Dkt. 563)

 7   and to Join and Adopt Co-Defendants Uber Technologies, Inc. and Ottomotto LLC’s Motion to

 8   Enforce the Court’s June 7, 2017 Order (Dkt. 563), requesting that the Court issue an order to

 9   enforce the June 7, 2017 order, strike Waymo’s corrected supplemental initial disclosures, strike

10   Waymo’s Patent Local Rule 3-8 contentions, and preclude damages claims as to Otto Trucking.

11           2.          Attached hereto as Exhibit 1 is a true and correct copy of relevant excerpts of

12   Defendant Otto Trucking LLC’s Objections and Responses to Plaintiff Waymo LLC’s First Set of

13   Expedited Interrogatories, served on June 5, 2017.

14           3.          Attached hereto as Exhibit 2 is a true and correct copy of relevant excerpts of

15   Defendant Otto Trucking LLC’s Objections and Responses to Plaintiff Waymo LLC’s Third Set

16   of Expedited Interrogatories, served on June 20, 2017.

17           4.          Attached hereto as Exhibit 3 is a true and correct copy of relevant excerpts of

18   Defendant Otto Trucking LLC’s Objections and Supplemental Responses to Plaintiff Waymo

19   LLC’s Third Set of Expedited Interrogatories, served on July 7, 2017.

20           5.          Attached hereto as Exhibit 4 is a true and correct copy of Plaintiff Waymo LLC’s

21   Supplemental Initial Disclosures, served on June 21, 2017.

22           6.          Attached hereto as Exhibit 5 is a true and correct copy of Plaintiff Waymo LLC’s

23   Damages Contentions Pursuant to Patent Local Rule 3-8, served on June 26, 2017.

24

25           I declare under penalty of perjury under the laws of the United States that the foregoing is

26   true and correct. Executed this 7th day of July, 2017 in San Francisco, California.

27
                                                               /s/ Rachel M. Walsh
28                                                                 Rachel M. Walsh
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      DECLARATION ISO OTTO TRUCKING’S MOTION TO ENFORCE AND TO JOIN MOTION TO ENFORCE
                                   CASE NO. 3:17-CV-00939
